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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,


Plaintiff,

v.

ARCADIO ABURTO,

Defendant.                                         No. 06-CR-300167-DRH

                                     ORDER


HERNDON, Chief Judge:

             Pending before the Court is the Government’s motion to extend time to

respond to Defendant’s objection to the Presentence Investigation Report (Doc. 332).

Said motion is GRANTED. The Court ALLOWS the Government up to and including

February 29, 2008 in which to file a response to Defendant’s objections to the

Presentence Investigation Report.

             IT IS SO ORDERED.

             Signed this 22nd day of February, 2008.

                                                   /s/ DavidRHer|do|
                                                   Chief Judge
                                                   United States District Judge
